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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALEXANDRA POPOVCHAK, et al.,
                               Plaintiff(s),

                        v.                                       22-CV-10756 (DEH)

 UNITED HEALTHCARE SERVICES, INC.,                        NOTICE OF REASSIGNMENT
 et al.,
                               Defendant(s).



DALE E. HO, United States District Judge:

       This case has been reassigned to the undersigned. All counsel must familiarize

themselves with the Court’s Individual Practices, which are available at

https://nysd.uscourts.gov/hon-dale-e-ho. Unless and until the Court orders otherwise, all prior

orders, dates, and deadlines shall remain in effect notwithstanding the case’s reassignment.

       Provided, the conference scheduled for March 22, 2024, is ADJOURNED to April 3,

2024, at 11:00 A.M. EST. The conference will be in person in Courtroom 905 of the Thurgood

Marshall United States Courthouse, 40 Foley Square, New York, New York 10007. The parties

shall file the required status letter described in paragraph 9 of the Civil Case Management Plan

and Scheduling Order, issued October 10, 2023, by March 28, 2024.

Dated: October 20, 2023
       New York, New York


                                                                       DALE E. HO
                                                                United States District Judge
